16 F.3d 287
    Bankr. L. Rep.  P 75,713In re Douglas SPEIGHT, Debtor.Joe LAUGHTER, Appellee,v.C. Douglas SPEIGHT, Appellant.
    No. 93-2525.
    United States Court of Appeals, Eighth Circuit.
    Submitted Jan. 13, 1994.Decided Feb. 9, 1994.
    
      Counsel who presented argument on behalf of the appellant was Jimmy D. Eaton of Little Rock, AR.
      Counsel who presented argument on behalf of the appellee was William J. Butt of Fayetteville, AR.
      Before BEAM and MORRIS SHEPPARD ARNOLD, Circuit Judges, and STROM,* Chief District Judge.
      MORRIS SHEPPARD ARNOLD, Circuit Judge.
    
    
      1
      This is a core proceeding that arose in a voluntary bankruptcy proceeding under Chapter 7 of the United States Bankruptcy Code.  At issue is the dischargeability of a judgment entered against the debtor by the Chancery Court of Benton County, Arkansas.  Under 11 U.S.C. Sec. 523(a)(4), a debt for "fraud or defalcation while acting in a fiduciary capacity ..." is not dischargeable.  We agree with the district court1 that the judgment in question, 147 B.R. 489, rendered in the context of an accounting on dissolution of a partnership, was quite plainly based on a finding that the debtor had committed a defalcation in the context of a fiduciary relationship.  Indeed, the judgment says specifically that Speight "breached his fiduciary duty to Laughter."
    
    
      2
      We agree, too, with the district court's conclusion that the fifteen-page judgment of the state court contained all that was necessary to establish, under well-known principles of collateral estoppel, that the judgment debt was not dischargeable.
    
    
      3
      We therefore affirm the district court on the basis of its well-reasoned opinion below.
    
    
      
        *
         The HONORABLE LYLE E. STROM, United States Chief District Judge for the District of Nebraska, sitting by designation
      
      
        1
         The Honorable Jimm Larry Hendren, United States District Judge for the Western District of Arkansas
      
    
    